Case 3:15-cr-00068-K Document 1 Filed 02/19/15   Page 1 of 6 PageID 1
Case 3:15-cr-00068-K Document 1 Filed 02/19/15   Page 2 of 6 PageID 2
Case 3:15-cr-00068-K Document 1 Filed 02/19/15   Page 3 of 6 PageID 3
Case 3:15-cr-00068-K Document 1 Filed 02/19/15   Page 4 of 6 PageID 4
Case 3:15-cr-00068-K Document 1 Filed 02/19/15   Page 5 of 6 PageID 5
Case 3:15-cr-00068-K Document 1 Filed 02/19/15   Page 6 of 6 PageID 6
